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JUDGE RONALD B. LEIGHTON

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
UNITED STATES OF Al\/IERICA, ) NO. CR 05-523 SRBL
)
Plaintiff, )
) STIPULATED MOTION TO
vs. ) CONTINUE TRIAL DATE AND
) PRETRIAL MOTIONS DUE DATE
WILLIAM JOHN DIEHL, )
)
Defendant. )
)

 

IT IS HEREBY STIPULATED by and between the United States of America, by
Assistant United States Attorney Vince Lombardi, and defendant, William Diehl, by his
attorney, Colin A. Fieman, that the trial date in the above-captioned case be continued to
any date convenient to the Court prior to October, 2005, with a new pretrial motions due
date of at least one month from today.

A continuance of the trial date and pretrial motions due date is being requested
because counsel is still awaiting discovery from the govemment,_including a copy of the

defendant’s computer hard drive, which may require forensic analysis.

Dated this 13 / day of April, 2005.
/AJ Respectfully submitted,
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/K

CoTiri/A. Fiem'an "" Vince Lombar 1 C ~7»¢_
Attorney for Defendant Assistant United States Att rne

FEDERAL PUBLIC DEFENDER

1331 Broadway, Ste. 400
STIPULATED MOTION Tacoma, Washington 98402

TO CONTINUE TRIAL DATE & PTM’S DUE DATE l (253) 593-6710

 

CERTIFICATE OF SERVICE
6’/

I hereby certify that on the 15 day of April, 2005, I etiled and faxed copies
of defendant’s Stipulated Motion to Continue Trial Date and Pretrial Motions Due Date,
proposed Order, and Defendant’s Waiver of Speedy Trial Rights (To Be Filed Monday,
April 18, 2005) to:

Mr. Vince Lombardi

Assistant United States Attorney

700 Stewart St., Suite 5220
Seattle, WA 98101-1271

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STlPULATED MOTION
TO CONTINUE TRIAL DATE & PTM’S DUE DATE

 

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DATED this f § day of April, 2005.

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FEDERAL PUBLIC DEFENDER
1331 Broadway, Ste. 400
Tacoma,Washington 98402

(253) 593-6710

 

